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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


 PARKERVISION, INC.,                     )
                                         )
              Plaintiff,                 )
                                         )
 v.                                      )       Case No. 3:15-cv-01477-BJD-MCR
                                         )
 APPLE INC. ,et al.,                     )
                                         )
              Defendants.                )
                                         )


  JOINT STATUS REPORT AS TO THE STATUS OF THE ORLANDO CASE

       On April 21, 2020, Plaintiff ParkerVision, Inc. and Defendant Apple Inc.

 (“Apple”) filed an unopposed motion to stay this action (as to all parties) pending a

 final judgment (including any appeals) or settlement in the related Orlando Case.

 Defendant Qualcomm Incorporated (“Qualcomm”) did not oppose. ECF No. 245.

 On April 30, 2020, the Court granted the parties’ Unopposed Motion to Stay. ECF

 No. 247. The parties respectfully submit this Joint Status Report as to the Status of

 the Orlando Case as required by ECF No. 247.

       On March 22, 2022, the Court granted Qualcomm’s Motion for Summary

 Judgment of Noninfringement of the remaining patents in the Orlando Case. See

 ParkerVision, Inc. v. Qualcomm Inc., et al, No. 14-cv-687, ECF No. 685. Judgment was

 entered in Qualcomm’s favor on March 23, 2022. See ParkerVision, Inc. v. Qualcomm

 Inc., et al, No. 14-cv-687, ECF No. 687. ParkerVision filed a notice of appeal on April


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 20, 2022. See ParkerVision, Inc. v. Qualcomm Inc., et al, No. 14-cv-687, ECF No. 693.

 ParkerVision’s opening brief is currently due August 18, 2022. As such, the parties

 request that the stay remain in place.

 Dated: July 25, 2022

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 * Attorneys Daignault and Cappella have authorized the use of their
 electronic signatures.
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                            CERTIFICATE OF SERVICE

       I certify that on July 25, 2022, I electronically filed the foregoing with the Clerk

 of Court by using the CM/ECF system. I further certify that I mailed the foregoing

 document and the notice of electronic filing by first-class mail to the following non-

 CM/ECF participants: none.

                                                  /s/ Matthew J. Brigham
                                                   Matthew J. Brigham
